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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


 KELVIN LEON JONES, et al.,

              Plaintiffs,

 v.                                                     Consolidated Case
                                                        No. 4:19-cv-300-RH-CAS
 RON DESANTIS, in his official capacity as
 Governor of Florida, et al.,

              Defendants.


               PLAINTIFFS’ MOTION TO REPLACE EXHIBIT

      Gruver, McCoy, and Raysor Plaintiffs (collectively, “Plaintiffs”) in this

consolidated action file this motion to respectfully request the Court replace a

recently filed exhibit in the above captioned case. On April 17, 2020, ECF Nos.

363-9 through 363-14, or Plaintiffs’ Exhibit 908 (“PX908”), was filed in

accordance with this Court’s Order to file all previously unfiled trial exhibits on

the docket. ECF 317. Due to a glitch when compiling PX908, certain pages were

inadvertently excluded while others contained errors. This exhibit is a subset of

documents produced by Defendant Manatee County Supervisor of Elections in the

week prior in response to a public records request, including some produced on

April 17, 2020, the deadline to file all trial exhibits. In an effort to review the
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voluminous production of more than 1,400 pages, compile the exhibit, and file it

along with other trial exhibits, Plaintiffs failed to catch the error in PX908.

      Wherefore, Plaintiffs respectfully request that this Court replace PX908 with

the corrected version attached as “Exhibit A” as a properly filed replacement for

ECF Nos. 363-9 through 363-14 for this case and on the docket.




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Date: April 22, 2020

Respectfully submitted,

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                    ** Pro Hac Vice application forthcoming
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                     CERTIFICATE OF CONFERENCE

      Pursuant to Local Rule 7.1(b), I hereby certify that on April 21, 2020, counsel

for the Plaintiffs attempted to confer in good faith with counsel for Defendants.

Counsel for Defendants did not respond to provide a position on this motion.

                                             /s/Leah C. Aden
                                             Leah C. Aden

                                             Counsel for Gruver Plaintiffs




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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 22, 2020, I served a true and correct copy of the

foregoing document via electronic notice by the CM/ECF system on all counsel or

parties of record.


                                              /s/ Leah C. Aden
                                              Leah C. Aden


                                              Counsel for Gruver Plaintiffs




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